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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
                                                 )
                                                 )       Case No. 1:12CR00044
                                                 )
v.                                               )
                                                 )
DAVID CLINE,                                     )
                                                 )
                                                 )
                 Defendant.                      )




UNITED STATES OF AMERICA                         )
                                                 )
                                                 )
                                                 )
                                                 )
v.                                               )       Case No. 1:13CR00008
                                                 )
ROSIE D. RITCHIE,                                )
                                                 )
                   Defendant.                    )
                                                 )


                           OPINION AND ORDER

      Randy Ramseyer, Assistant United States Attorney, Abingdon, Virginia, for
United States;, Benjamin L. Bailey, Christopher S. Morris, and Michael B. Hissam,
Bailey & Glasser LLP, Charleston, West Virginia, for Defendants.
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      The issue before the court is whether it should permit the dual representation

by counsel of two criminal defendants who are charged as part of the same

criminal scheme, where one of the defendants has pleaded guilty and will testify

for the government at the trial of the other defendant. Before finally determining

the issue, I will allow the parties the opportunity to further advise the court.



                                           I

       Defendant David Cline is charged with conspiracy and structuring relating

to a so-called “ten-percent check cashing scheme.” The government contends that

the scheme, a purpose of which was to avoid payment of federal income taxes,

involved mine equipment businesses selling to coal mining companies in Virginia

and West Virginia. Over a period of time, the government alleges, these mine

equipment businesses provided false invoices to certain mining companies. A

mining company involved in the scheme would pay the invoice to the equipment

company by check and in return the equipment company would deposit the check

and return cash to the company, less ten percent as a fee. No actual sale of

equipment would be involved, but the mining company would deduct the invoice

amount as a business expense and pocket the cash and not report it on its income

tax return. In addition, some of the mining companies used the cash to pay their




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employees “off the books,” so that they did not pay the required employment taxes

and the employees did not report the income.

      It is further alleged by the government that the equipment companies would

“structure” their cash withdrawals in amounts of $10,000 or less, in order to avoid

bank reporting requirements and that the mining companies aided and abetted this

structuring.

      Numerous individuals were allegedly involved in this scheme, and many

have been charged. A number have already pleaded guilty and have agreed to

cooperate with the government. Four defendants who have pleaded not guilty are

charged in a single case which is set for trial. Those defendants are Cline, his son,

Joshua Cline, William Adams, and John Ward. All were coal mine operators.

      One of the participants in the scheme who has pleaded guilty and is awaiting

sentencing is Rosie D. Ritchie. She worked for certain other mine operators as a

bookkeeper.    She knew J.D. McReynolds, a mine equipment seller who it is

claimed was at the center of the scheme, and she facilitated her employers

becoming involved. The government plans to call her as a witness in its case-in-

chief at the upcoming trial of Cline and his codefendants. She does not know

Cline (and he does not know her) and she cannot directly link him to the scheme,

although the government will contend that her description of the scheme will

match details of other evidence against Cline and thus support its case against him.


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      Both Cline and Ritchie are represented by lawyers from the same firm.

Indeed, it has been represented that the lawyer who appeared for Ritchie at her

guilty plea hearing may likely take the lead for Cline at his trial. The attorneys

have advised the court that they do not contest Ritchie’s expected testimony,

although they will dispute its implications as to Cline. They say that they do not

intend to attack Ritchie’s credibility at Cline’s trial. Their clients have both signed

written waivers of any such potential conflict. In addition, I have questioned both

defendants on the record and both stated that they understand the situation and

agree to the dual representation. Their attorneys assure the court that if any matters

come to their attention prior to trial that would require them to take positions

adverse to either of the clients, they will promptly advise the court.

      The government has expressed concern about this dual representation,

pointing out, among other issues, that if it appears that Ritchie shaved her

testimony in some way to help Cline, she may lose an opportunity to obtain a

motion from the government for a lesser sentence based upon her substantial

assistance in Cline’s prosecution.



                                          II

      The court has broad discretion in deciding this issue, although opinions of

the United States Court of Appeals for the Fourth Circuit appear to emphasize a


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defendant’s Sixth Amendment right to conflict-free counsel over the defendant’s

competing Sixth Amendment right to counsel of his or her choosing. Additionally,

numerous courts have found disqualification appropriate whenever defense counsel

would be required to cross-examine his own client.

      Virginia Rule of Professional Conduct 1.7 provides that, absent valid client

consent, an attorney shall not represent a client if, inter alia, “there is a significant

risk that the representation of one or more clients will be materially limited by the

lawyer’s responsibilities to another client.” Va. Rules of Prof’l Conduct 1.7(a).1

The client’s informed, written consent to representation by the lawyer despite such

a conflict is valid only if “the lawyer reasonably believes that the lawyer will be

able to provide competent and diligent representation to each affected client” and

“the representation is not prohibited by law.” Id. 1.7(b). Comment 23 to the rule

states, “The potential for conflict of interest in representing multiple defendants in

a criminal case is so grave that ordinarily a lawyer should decline to represent

more than one codefendant. On the other hand, common representation of persons

having similar interests is proper if the risk of adverse effect is minimal and the

requirements of paragraph (b) are met.” Id. 1.7 cmt. 23.



      1
            The Virginia professional responsibility rules constitute the applicable
disciplinary rules of this court. W.D. Va. Rules of Disciplinary Enforcement IV(B). All
attorneys, including those admitted pro hac vice, are subject to these rules. W.D. Va.
Gen. R. 6(h).
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      When lawyers are associated in a firm, such as here, “none of them shall

knowingly represent a client when any one of them practicing alone would be

prohibited from doing so [by Rule 1.7].” Id. 1.10(a). “Such situations can be

considered from the premise that a firm of lawyers is essentially one lawyer for

purposes of the rules governing loyalty to the client . . . .” Id. 1.10 cmt. 2.

      In a criminal case, one attorney’s representation of multiple defendants also

implicates the Sixth Amendment. See Wheat v. United States, 486 U.S. 153, 158-

60 (1988).     The Federal Rules of Criminal Procedure require the court to

“promptly inquire about the propriety of joint representation and . . . personally

advise each defendant of the right to the effective assistance of counsel, including

separate representation. Unless there is good cause to believe that no conflict of

interest is likely to arise, the court must take appropriate measures to protect each

defendant’s right to counsel.” Fed. R. Crim. P. 44(c)(2).

      The Supreme Court has held that district judges have broad discretion “in

refusing waivers of conflicts of interest not only in those rare cases where an actual

conflict may be demonstrated before trial, but in the more common cases where a

potential for conflict exists which may or may not burgeon into an actual conflict

as the trial progresses.”    Wheat, 486 U.S. at 163.        “The District Court must

recognize a presumption in favor of petitioner’s counsel of choice, but that

presumption may be overcome not only by a demonstration of actual conflict but


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by a showing of a serious potential for conflict.” Id. at 164. Though the key facts

in the Wheat case are not the same as those in the instant matter, there are

important factual similarities.     Wheat involved a complex drug distribution

scheme. One attorney represented a defendant who had pleaded guilty and also

sought to represent the petitioner, who had pleaded not guilty and intended to

proceed to trial. The prosecution indicated that it would call the first defendant as

a witness in the trial of the second defendant. The petitioner argued that even if the

first defendant were called to testify, he “would simply say that he did not know

petitioner and had no dealings with him; no attempt by [defense counsel] to

impeach [the first defendant] would be necessary.” Id. at 156. Additionally, as in

the present case, both parties had agreed in writing to waive the conflict of interest.

Nevertheless, the district judge refused to allow defense counsel to represent the

petitioner at trial, and the Supreme Court upheld that decision.

      The Fourth Circuit applied the Wheat rationale in Hoffman v. Leeke, 903

F.2d 280 (4th Cir. 1990), and found that defense counsel should have been

prohibited from representing both the appellant-defendant and his codefendant who

had pleaded guilty and testified against the appellant-defendant. The court noted

that defense counsel had represented both defendants with respect to the murder-

for-hire prosecution at the time the codefendant entered into his plea agreement.

Id. at 286. Thus, “Hoffman was in the unacceptable position of having his own


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attorney help the state procure a witness against him.” Id. at 286. Though the

court ultimately found that the appellant’s waiver was invalid because it was not

knowing and intelligent, id. at 288-89, the court indicated that “[n]ot even the

proffer of admittedly valid waivers of conflict-free counsel can restrict a trial

court’s power to insist on separate representation,” id. at 288. In a later case, citing

Hoffman, the Fourth Circuit stated that it has “rigorously applied Wheat’s rationale

— which emphasizes the primacy of the court’s concern for integrity of the

process.” United States v. Williams, 81 F.3d 1321, 1324 (4th Cir. 1996).

      Numerous courts in other jurisdictions have ordered or affirmed the

disqualification of defense counsel from representing one or more codefendants

where joint representation would require counsel to cross-examine counsel’s own

client. See, e.g., United States v. Pavlock, No. 1:10CR07, 2010 WL 1404662, at

*7-8 (N.D.W. Va. Feb. 19, 2010), adopted by 2010 WL 1404626 (N.D.W. Va.

Apr. 1, 2010); United States v. Cheatham, No. 3:2006-29, 2008 WL 311029, at *4

(W.D. Pa. Feb. 1, 2008), aff’d, 404 F. App’x 681 (3d Cir. 2010) (unpublished);

United States v. Scott, No. 2:05-CR-10-01-WCO, 2007 WL 2121644, at *1 (N.D.

Ga. July 24, 2007); United States v. Dively, No. 3:07-02, 2007 WL 2008502, at *5

(W.D. Pa. July 5, 2007); United States v. Winter, No. 98-341, 1998 WL 669932, at

*3 (E.D. Pa. Sept. 29, 1998); United States v. Stewart, No. 96-583, 1997 WL

611594, at *3 (E.D. Pa. Sept. 24, 1997), aff’d, 185 F.3d 112, 119-22 (3d Cir.


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1999); United States v. Culp, 934 F. Supp. 394, 397-98 (M.D. Fla. 1996); Kiker v.

State, 55 So. 3d 1060, 1067 (Miss. 2011); State v. Tairi, 2008 WL 2415196, at *5-

7 (N.J. Super. Ct. App. Div. June 17, 2008) (unpublished); People v. Doss, Nos.

266375, 266830, 2007 WL 1094422, at *2 (Mich. Ct. App. Apr. 12, 2007)

(unpublished); State v. Cisco, 861 So. 2d 118, 130 (La. 2003). Some courts have

concluded that defense counsel would inevitably be materially limited in his cross-

examination of the codefendant/witness due to his obligations to that client, and

thus would be unable to provide fully effective counsel to the client on trial. Other

courts have emphasized defense counsel’s ethical duty of loyalty to all clients and

have concluded that even where no vigorous impeachment is required, an attorney

who cross-examines his own client gives the appearance of having split loyalties,

which undermines the integrity of the process.

      Nevertheless, at least two courts have found disqualification inappropriate

where the codefendant/witness would testify only to background information, was

not a key witness for the prosecution, would not directly implicate the defendant

on trial, and where no client confidences could be used against the testifying

codefendant.   United States v. Hawkins, No. CRIM.A. 04-370-05, 2004 WL

2102017, at *6-8 (E.D. Pa. Aug. 26, 2004); United States v. Mazzone, No. CR. A.

99-0363-06, 2000 WL 1790115, at *2-3 (E.D. Pa. Dec. 7, 2000).




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                                          III

      The defense attorneys here are experienced and competent litigators who

have forthrightly recognized the potential conflict but believe that it does not affect

their clients’ interests. However, because of the serious nature of the issue, I

believe that the parties ought to have an additional opportunity to submit their

views. Accordingly, the defendants are hereby directed to show cause why the

court should not require that they be represented by separate counsel. To do so, the

defendants must file a response to this order within 14 days. The government must

respond within 7 days of service of the defendants’ response. The defendants may

reply within 7 days of service of the government’s response. If any party desires a

hearing, the party must so advise the court promptly following the last filing.

      It is so ORDERED.

                                                ENTER: April 19, 2013

                                                /s/ James P. Jones
                                                United States District Judge




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